Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 1 of 14



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                          CASE NO. 16-23939- CIV-GOODMAN
                                 [CONSENT CASE]

  DAWN DAWSEY,

        Plaintiff,

  v.

  CARNIVAL CORPORATION, et al.,

        Defendants.
  _________________________________/

       OMNIBUS ORDER ON MOTIONS IN LIMINE AND DAUBERT MOTION

        The parties in this cruise-oriented, personal-injury lawsuit have filed pretrial

  motions designed to exclude the other side’s expert-witness testimony or to keep the

  jury from hearing certain evidence. The Court will address these motions before ruling

  on two summary-judgment motions (one filed by Defendant Steiner Transocean Ltd.,

  which operated a spa aboard the Carnival ship Elation, and one filed by Defendant

  Carnival Corporation). The rulings here are a mixed bag, so it is difficult to provide an

  overall, succinct summary. Suffice it to say, the Court grants some of the motions and

  denies some of the motions.

  I.    Factual Background

        Plaintiff Dawn Dawsey contends that she fractured her hip during a bamboo
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 2 of 14



  massage on Carnival’s Elation. She claims that Steiner’s masseuse broke her hip during

  the massage due to excessive force with the bamboo. She also alleges that the injuries

  required surgery and extensive treatment and rehabilitation. And she also contends that

  Carnival was negligent in failing to properly investigate the qualifications and

  experience of masseuses hired by Steiner and in failing to train Steiner in the proper

  massage methods.

        Defendants deny those charges. They say that Dawsey suffered from preexisting

  back pain, lied about her preexisting conditions, and failed to complain to Steiner or

  Carnival during or immediately after the massage. They also contend that the massage

  did not cause Dawsey’s hip injury.

        Defendants filed a motion in limine to exclude the expert causation opinions of

  Dawsey’s treating physicians. [ECF No. 49]. Dawsey filed a response [ECF No. 58], but

  Defendants did not file a reply (and the time to do so has expired). Dawsey filed her

  own motion in limine concerning five topics. [ECF No. 50]. Defendants filed a joint

  response, and Dawsey filed a reply. [ECF Nos. 57; 61]. Also, Dawsey filed a motion to

  exclude Dr. Mitchell Whiteman, a defense-retained diagnostic radiologist. [ECF No. 51].

  Defendants filed a joint response, and Dawsey filed a reply. [ECF Nos. 56; 60]. Finally,

  Defendants jointly filed a motion to exclude Dr. Troiano’s expert testimony. [ECF No.

  52]. Dawsey filed a response, and Defendants filed a joint reply. [ECF Nos. 82–83].




                                              2
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 3 of 14



  II.    Applicable Legal Standards

         The district court has “broad discretion in determining whether to admit or

  exclude expert testimony, and its decision will be disturbed on appeal only if it is

  manifestly erroneous.” Evans v. Mathis Funeral Home, 996 F.2d 266, 268 (11th Cir. 1993).

  Federal Rule of Evidence 702 governs the admission of expert testimony, as explained

  and refined by the United States Supreme Court in Daubert and Kumho Tire Co., Ltd. v.

  Carmichael, 526 U.S. 137 (1999).

         Rule 702 provides that:

         A witness who is qualified as an expert by knowledge, skill, experience,
         training, or education may testify in the form of an opinion or otherwise
         if:
         (a) the expert’s scientific, technical, or other specialized knowledge will
         help the trier of fact to understand the evidence or to determine a fact in
         issue;
         (b) the testimony is based on sufficient facts or data;
         (c) the testimony is the product of reliable principles and methods; and
         (d) the expert has reliably applied the principles and methods to the facts
         of the case.

  Fed. R. Evid. 702.

         To fulfill its obligation under Daubert, a trial court engages in a three-part

  inquiry: (1) whether the expert is qualified to testify competently; (2) whether the

  methodology used to reach the conclusions is sufficiently reliable; and (3) whether the

  testimony assists the trier of fact to understand the evidence or to determine a fact at

  issue. Rink v. Cheminova, Inc., 400 F.3d 1286, 1291-92 (11th Cir. 2005).

         Reliability of the methodology requires “an exacting analysis of the proffered


                                                3
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 4 of 14



  expert’s methodology.” McCorvey, 298 F.3d at 1257. That analysis takes into

  consideration a number of factors, including: (1) whether the expert’s methodology can

  be, and has been, tested; (2) whether the expert’s scientific technique has been subjected

  to peer review and publication; (3) whether the method employed has a known rate of

  error; and (4) whether the technique is generally accepted in the scientific community.

  Rink, 400 F.3d at 1292; Quiet Tech. DC–8, Inc. v. Hurel–Dubois UK Ltd., 326 F.3d 1333, 1341

  (11th Cir. 2003).

         These reliability factors, however, are non-exhaustive. Kumho Tire, 526 U.S. at

  150; Rink, 400 F.3d at 1292. Thus, “[i]n evaluating the reliability of an expert’s method . .

  . a district court may properly consider whether the expert’s methodology has been

  contrived to reach a particular result.” Rink, 400 F.3d at 1293 n.7. The burden of

  establishing the reliability of an expert’s opinions rests on the proponent of that expert’s

  testimony. U.S. v. Frazier, 387 F.3d 1244, 1244 (11th Cir. 2004). The party proffering the

  expert also has the burden of “laying the proper foundation for the admission of the

  expert testimony . . . and admissibility must be shown by a preponderance of the

  evidence.” Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999).

         “It is not the role of the district court to make ultimate conclusions as to the

  persuasiveness of the proffered evidence.” Quiet Tech. DC–8, Inc., 326 F.3d at 1341. Thus,

  the district court cannot exclude an expert because it believes the expert lacks personal

  credibility. Rink, 400 F.3d at 1293 n.7. To the contrary, “vigorous cross-examination,



                                               4
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 5 of 14



  presentation of contrary evidence, and careful instruction on the burden of proof are the

  traditional and appropriate means of attacking shaky but admissible evidence.” Quiet

  Tech. DC–8, Inc., 326 F.3d at 1341 (quoting Daubert, 509 U.S. at 596).

         A less-than-perfect expert opinion may still be admitted, even if it contains gaps.

  See In re Trasylol Prods. Liab. Litig., No. 08–MD–01928, 2010 WL 1489793, at *6 (S.D. Fla.

  Feb. 24, 2010) (“Only if the expert’s opinion is so fundamentally unsupported that it can

  offer no assistance to the jury must such testimony be excluded.”). Furthermore, courts

  “must be careful not to conflate questions of admissibility of expert testimony with the

  weight appropriately to be accorded to such testimony by the fact finder.” In re Trasylol

  Products Liab. Lit., 2010 WL 1489793 at *7 (quoting Quiet Tech, 326 F.3d at 1341).

  III.   Analysis

         A.     Defendants’ Motion to Exclude Causation Testimony [ECF No. 49]

         Defendants want to exclude the expert causation-opinion testimony of Dawsey’s

  treating physicians on the ground that Dawsey did not provide written reports from

  those physicians in accordance with Federal Rule of Civil Procedure 26(a)(2)(B). [ECF

  No. 49]. For all treating doctors other than Dr. R. Williams Junius, Dawsey agrees that

  she will not solicit causation opinions. [ECF No. 58, p. 2]. So, given that express

  representation, the Defendants’ motion in limine is denied as moot as to the treating

  doctors other than Dr. Junius.

         For Dr. Junius, Dawsey advises that District Judge Federico A. Moreno (the first



                                               5
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 6 of 14



  judge to preside over this case) already allowed her to file an expert report by May 31,

  2017. [ECF No. 54]. Dawsey represents in her May 10, 2017 response that she “will file

  an expert report from Dr. Junius.” [ECF No. 58, p. 2].

        The record does not reflect whether Dawsey served the report, and my review of

  the docket sheet does not reveal whether she filed the report. On the other hand,

  Defendants do not contend that Dawsey failed to follow through on her commitment to

  provide Dr. Junius’s report. Therefore, I assume the report was served, and I also assume

  that Defendants are not objecting if the report was not actually filed but was merely

  served. If my assumption is incorrect and Defendants did not receive Dr. Junius’s expert

  report by the Court-ordered deadline of May 31, 2017, then Defendants may re-file the

  motion in limine.

        For now, however, the Court denies the motion as to Dr. Junius.

        B.     Dawsey’s Motion in Limine [ECF No. 50]

        Dawsey seeks relief on five separate challenges: (1) preventing Defendants from

  mentioning that Steiner is the “industry leader” in providing spa services; (2)

  precluding the defense doctors from testifying about causation; (3) prohibiting

  Defendants from arguing that Dawsey is a fraud; (3) excluding evidence of Dawsey’s

  marijuana, opioid, and alcohol use; and (4) barring evidence of collateral-source

  payments or benefits. My rulings are outlined below:

        1.     Denied as to Steiner being an “industry leader” in spa services. Dawsey



                                              6
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 7 of 14



  contends that Carnival negligently retained Steiner and failed to engage in adequate

  due diligence about Steiner. Given these allegations, Steiner’s reputation is relevant.

  Dawsey is free to cross-examine Carnival’s witnesses about what other steps the cruise-

  ship operator took besides relying on Steiner’s reputation before deciding to use it as an

  independent contractor to provide onboard spa services.

        2.     Denied as to Defendants’ experts’ causation opinions. The defense

  experts need not pinpoint the specific cause of the injury. They’re permitted to opine

  about inconsistencies in Dawsey’s theory or the causation theory of her experts. Dawsey

  may challenge those defense expert opinions on cross-examination.

        3.     Granted as to labeling Dawsey “a fraud.” Defendants, however, are

  permitted to cross-examine and argue about inconsistencies and/or omissions in

  Dawsey’s testimony about her prior medical record. If supported by record evidence,

  then Defendants are also permitted to challenge Dawsey’s credibility and to argue that

  the medical records do not support her testimony and that her testimony is

  dramatically different than the medical scenario reflected in her medical records. They

  can even argue that her testimony is entitled to no credibility whatsoever. But what they

  cannot do is to use the inflammatory word “fraud” or to call her a “fraudster.”

        4.     Granted as to Dawsey’s prior, occasional use of marijuana, opioids, and

  alcohol. Defendants’ theory concerning Dawsey’s prior marijuana and opioid use and

  alcohol consumption, which is not that these substances caused her hip injury, is



                                              7
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 8 of 14



  speculative. And, even if the theory was not overly speculative, evidence of drug and

  alcohol use in this case does not survive a Federal Rule of Evidence 403 balancing

  analysis.

         On the other hand, if Defendants have evidence that Dawsey was using any of

  these drugs or substances on the cruise or shortly before the cruise (so that she could

  still be affected by those substances when she was aboard the vessel), then that evidence

  is admissible. Based on my review of the record evidence, however, it does not appear

  that Defendants have this type of evidence.

         5.      Granted as to collateral-source evidence. Dawsey assures the Court that

  she will not inject her financial condition into the trial. Therefore, evidence of collateral-

  source payments is inadmissible unless Dawsey opens the door. This ruling does not

  preclude Defendants from filing post-trial motions to reduce a verdict should Dawsey

  prevail at trial.

         C.      Dawsey’s Motion to Exclude Dr. Whiteman [ECF No. 51]

         Dawsey seeks to exclude the expert-opinion testimony of Dr. Whiteman, a

  defense-retained diagnostic radiologist, on several grounds. First, she argues that he is

  not adequately qualified because he is not a surgeon and does not treat patients with

  hip fractures (other than to read their films). Second, she argues that this doctor must

  have ignored the portions of her deposition that undermine the opinions in his report.

  Third, she contends that he did not consider the force applied in performing the alleged



                                                8
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 9 of 14



  technique (i.e., the masseuse placed a hand under the bamboo stick and against the hip

  and extended the stick outward to stretch the outer side muscles and hip joints). Finally,

  she argues that his opinion on causation is improper and unreliable because he said: “I

  do not know the cause of Ms. Dawsey’s left hip fracture, but it definitely was not caused

  by the massage.” [ECF No. 51-1, p. 30].

         Defendants, of course, take issue with all those challenges. They say that Dr.

  Whiteman is qualified and that his methodology is reliable. They stridently challenge

  the notion that he “cherry-picked” facts, and they accuse Dawsey’s counsel of making

  misrepresentations by including a quote that omitted the prior page of deposition

  testimony. And they argue that Dawsey is improperly seeking to shift the burden of

  proof on causation to Defendants. Specifically, they say that “Dr. Whiteman is not

  attempting to definitively prove that something else caused Plaintiff’s hip fracture, nor

  is he required to; instead, he considered all of the relevant evidence and offered

  testimony tending to diminish Plaintiff’s allegations that the bamboo massage was the

  cause of her hip fracture.” [ECF No. 56, p. 7].

         The Court denies the motion. The Court agrees with Defendants that Dr.

  Whiteman is sufficiently qualified to give his opinions. Dawsey, however, is free to

  vigorously cross-examine Dr. Whiteman at trial in an effort to uncover purported

  deficiencies in his training.

         In addition, Dawsey bears the burden of proving causation; the burden does not



                                               9
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 10 of 14



  fall on Defendants to disprove causation. Aycock v. R.J. Reynolds Tobacco Co., 769 F.3d

  1063, 1070 (11th Cir. 2014) (reversing a plaintiff’s judgment where the district court

  improperly shifted the burden of proof as to causation on the wrong party by requiring

  the defendant tobacco company to prove that something other than smoking caused the

  decedent’s death).

         Accordingly, Defendants’ expert is allowed to provide testimony that casts doubt

  on Dawsey’s causation theory without also definitively opining on what caused the

  injury. See Companhia Energetica Potiguar v. Caterpillar Inc., No. 14-CV-24277, 2016 WL

  7507848, at *13 (S.D. Fla. Aug. 1, 2016) (“[W]here defendant seeks to introduce evidence

  merely to cast doubt on the plaintiff’s theory of causation, the expert need not

  definitively rule out plaintiff’s theory for his testimony to be admitted”); see also Lebron

  v. Royal Caribbean Cruises, Ltd., No. 16-24687-CIV, 2018 WL 3583002, at *4 (S.D. Fla. July

  26, 2018) (refusing to strike cruise ship’s rebuttal causation expert’s testimony,

  explaining that “opining on alternative theories” for the plaintiff’s injuries does not

  warrant exclusion); Wicker ex rel. Wicker v. Ford Motor Co., 393 F. Supp. 2d 1229, 1237–38

  (W.D. Okla. 2005) (“Plaintiff argues that defendants’ expert witness was unable to

  determine the cause of the fire with certainty; however, it is not defendants’ burden to

  disprove plaintiff’s theory, but only to show that there is an absence of proof to support

  plaintiff’s claim.”) (emphasis added). But again, Dawsey is free to vigorously cross-

  examine Dr. Whiteman at trial in an effort to uncover purported deficiencies in his



                                              10
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 11 of 14



  methodology.

            D.     Defendants’ Motion to Exclude Dr. Troiano’s Opinions [ECF No. 52]

         Defendants seek to exclude the expert-opinion testimony of Dr. Christopher

  Troiano, an orthopedic surgeon who reviewed Dawsey’s post-cruise medical records

  and concluded that the massage caused her hip injury. Defendants do not challenge Dr.

  Troiano’s credentials, as he is board certified in orthopedic surgery, has published in the

  field, and has been on the board of governors of a South Florida hospital. Instead, they

  challenge his methodology (or to be more accurate, his lack of methodology).

         Boiled down to its basics, the motion focuses on the following challenges: (1) Dr.

  Troiano reviewed only medical records; (2) Dawsey’s counsel selectively chose those

  records, the earliest of which was from nearly a week after the cruise; (3) Dr. Troiano

  did not examine Dawsey, never spoke to her, and did not review her pre-cruise records

  or deposition testimony; (4) Dr. Troiano relied on anecdotal, self-reported statements

  that Dawsey gave to her treating physicians; (5) Dr. Troiano did not rule out other

  possible causes of Dawsey’s hip fracture; and (6) Dr. Troiano improperly concludes that

  just because the post-cruise medical records reveal no other traumatic event, the only

  logical cause of the hip fracture was the bamboo massage.

         Given these circumstances, Defendants contend that Dr. Troiano’s methodology

  fails to meet the Daubert factors and the other tests the courts use when assessing the

  admissibility of expert-opinion testimony. Moreover, they say his opinion testimony



                                              11
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 12 of 14



  would not be helpful to the jury in a meaningful way.

         In response to this substantial challenge, Dawsey spends most of her

  memorandum reciting the applicable law and stressing Dr. Troiano’s training and

  background, which, as noted, Defendants are not attacking. She then cites a few cases

  that she says stand for the proposition that “a physician need not necessarily examine a

  patient, interview that patient or speak with the patient’s treating physicians in order to

  render opinions regarding diagnosis, prognosis, course of treatment and even

  causation.” [ECF No. 82, p. 5]. Plaintiff contends that Dr. Troiano’s opinions are

  admissible under Daubert because they are “based upon his 25 years as a Board-

  Certified Orthopedic Surgeon and his extensive review of the medical records of the

  Plaintiff after her injury.” [ECF No. 82, p. 6].

         In their reply, Defendants concede that a doctor “may primarily base his opinion

  as to the cause of a plaintiff’s injuries on his history where the plaintiff has sustained a

  common injury in a way that it commonly occurs[.]” [ECF No. 83, p. 2 (internal

  quotations omitted)]. But Defendants say the hip fracture at issue here is “simply not

  the type of injury which commonly occurs from a massage.” Id. Therefore, they argue,

  this case is not one where medical records (especially incomplete ones) can form the

  basis for a reliable causation opinion.

         There is little doubt that Dr. Troiano’s causation opinion is subject to substantial

  challenge. Reviewing only medical records selected by the plaintiff’s attorney is



                                                12
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 13 of 14



  problematic, to say the least, especially when the expert does not also review the

  plaintiff’s medical records from before the cruise or review her deposition testimony.

         So the Court could likely grant the motion and exclude Dr. Troiano’s testimony

  without getting reversed because of the considerable discretion afforded to the

  “gatekeepers” who assess the admissibility of expert-opinion testimony. On the other

  hand, a decision denying the motion in limine would also likely be affirmed. See, e.g.,

  Am. Family Mut. Ins. Co. v. Roth, No. 05 C 3839, 2010 WL 3397362, at *2 (N.D. Ill. Aug. 25,

  2010) (noting that discretion “denotes the absence of a hard and fast rule” and

  explaining that “on virtually identical facts, two decision makers can arrive at opposite

  conclusions, both of which constitute appropriate exercises of discretion”).

         But for now, the Court denies, albeit without prejudice, Defendants’ motion in

  limine to exclude Dr. Troiano’s causation opinion. See Geyer v. NCL (Bahamas) Ltd., 203 F.

  Supp. 3d 1212, 1216–17 (S.D. Fla. 2016) (denying motion to exclude testimony of

  passenger’s medical expert in lawsuit against cruise-ship operator because the opinion

  was reliable even though the doctor relied solely on passenger’s post-incident medical

  records). Defendants will have a full opportunity to cross-examine Dr. Troiano at trial,

  and it may well be that the jury finds his opinion on causation entitled to no weight

  whatsoever based on the factors described above.

         That being said, the Court’s ruling is not final, and I may well revisit the

  admissibility issue at trial, either in a motion to exclude or in a motion for judgment as a



                                              13
Case 1:16-cv-23939-JG Document 86 Entered on FLSD Docket 10/05/2018 Page 14 of 14



  matter of law. Dr. Troiano’s opinion testimony on causation is far from strong and

  barely squeaked by the pre-trial motion to exclude it. Dawsey may not necessarily

  obtain the same favorable ruling at trial. A final determination will await the doctor’s

  in-court testimony and my evaluation of his credibility, which will be based on, among

  other factors, whether his in-court explanation of his methodology is persuasive enough

  to justify admissibility.

         DONE and ORDERED in Chambers, at Miami, Florida, on October 5, 2018.




  Copies furnished to:
  All counsel of record




                                            14
